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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                 July 25, 2016
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         § CRIMINAL ACTION NO. 2:16-CR-361-1
                                            §
DAVID LEE PERRY; aka DP                     §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the Defendant pending trial in this

case:

         (1)   There is probable cause to believe the Defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(); and

         (2)   The Defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the Defendant as

required and the safety of the community.

         The evidence against the Defendant is substantial. The Defendant admitted to

agents that he was engaged in drug trafficking and money laundering. The findings and

conclusions contained in the Pretrial Services Report are adopted. The Defendant has an

active parole warrant, and was on parole for drug related offenses when these offenses

were committed, reflecting that he is either unwilling or unable to comply with court-

ordered conditions of release. He has several felony and misdemeanor drug-related

convictions, and is facing a possible enhancement to a 20-year minimum mandatory


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sentence.

       The Defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal.     The Defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on request

of an attorney for the Government, the person in charge of the corrections facility shall

deliver the Defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 25th day of July, 2016.


                                             ___________________________________
                                             B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




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